    22-10964-mg         Doc 6      Filed 07/14/22 Entered 07/14/22 00:05:32                      Main Document
                                                Pg 1 of 48


Joshua A. Sussberg, P.C.                                      Patrick J. Nash, Jr., P.C. (pro hac vice pending)
KIRKLAND & ELLIS LLP                                          Ross M. Kwasteniet, P.C. (pro hac vice pending)
KIRKLAND & ELLIS INTERNATIONAL LLP                            KIRKLAND & ELLIS LLP
601 Lexington Avenue                                          KIRKLAND & ELLIS INTERNATIONAL LLP
New York, New York 10022                                      300 North LaSalle Street
Telephone:     (212) 446-4800                                 Chicago, Illinois 60654
Facsimile:     (212) 446-4900                                 Telephone:       (312) 862-2000
                                                              Facsimile:       (312) 862-2200

Proposed Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                           )
    In re:                                                                 )     Chapter 11
                                                                           )
    CELSIUS NETWORK LLC, et al.,1                                          )     Case No. 22-10964 (___)
                                                                           )
                                                Debtors.                   )     (Joint Administration Requested)
                                                                           )

                  DEBTORS’ MOTION SEEKING ENTRY OF AN
           ORDER (I) RESTATING AND ENFORCING THE WORLDWIDE
          AUTOMATIC STAY, ANTI-DISCRIMINATION PROVISIONS, AND
     IPSO FACTO PROTECTIONS OF THE BANKRUPTCY CODE, (II) APPROVING
    THE FORM AND MANNER OF NOTICE, AND (III) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (this “Motion”):

                                                 Relief Requested

             1.    The Debtors seek entry of an order, substantially in the form attached

hereto as Exhibit A (the “Order”): (a) restating and enforcing the worldwide automatic stay,

anti-discrimination provisions, and ipso facto protections of the Bankruptcy Code (as defined


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 121 River Street, PH05,
      Hoboken, New Jersey 07030.
 22-10964-mg       Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32             Main Document
                                          Pg 2 of 48



below); (b) approving the form and manner of notice related thereto, substantially in the form

attached as Exhibit 1 to the Order (the “Notice”); and (c) granting related relief.

          2.   The Debtors further seek authority to translate this Motion, the Order, and the

Notice to better inform creditors, governmental units, and interested parties of the relief requested

herein.

                                     Jurisdiction and Venue

          3.   The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, entered February 1, 2012. The Debtors confirm their consent to the Court

entering a final order in connection with this Motion to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

          4.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          5.   The statutory bases for the relief requested herein are sections 105(a), 362, 365,

and 525 of title 11 of the United States Code (the “Bankruptcy Code”), rule 6003 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9013-1 of the Local

Bankruptcy Rules for the Southern District of New York (the “Local Rules”).

                                           Background

          6.   The Debtors, together with their non-Debtor affiliates (collectively, “Celsius”), are

one of the largest and most sophisticated cryptocurrency based finance platforms in the world and

provide financial services to institutional, corporate, and retail clients across more than

100 countries. Celsius was created in 2017 to be one of the first cryptocurrency platforms to which



                                                  2
    22-10964-mg      Doc 6      Filed 07/14/22 Entered 07/14/22 00:05:32                  Main Document
                                             Pg 3 of 48



users could transfer their crypto assets and (a) earn rewards on crypto assets and/or (b) take loans

using those transferred crypto assets as collateral. Headquartered in Hoboken, New Jersey, Celsius

employs a global workforce of approximately 670 employees and has more than 1.7 million

registered users and approximately 300,000 active users with account balances greater than $100.

         7.      On July 13, 2022 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. A detailed description of the facts

and circumstances of these chapter 11 cases is set forth in the Declaration of Alex Mashinsky,

Chief Executive Officer of Celsius Network LLC, in Support of Chapter 11 Petitions and First Day

Motions (the “Mashinsky Declaration”) and the Declaration of Robert Campagna, Managing

Director of Alvarez & Marsal North America, LLC, in Support of Chapter 11 Petitions and First

Day Motions (the “Campagna Declaration”), both filed contemporaneously with this Motion and

incorporated by reference herein.2 As described in more detail in the Mashinsky Declaration, the

Debtors commenced these chapter 11 cases to provide Celsius an opportunity to stabilize its

business and consummate a comprehensive restructuring transaction that maximizes value for

stakeholders.

         8.      The Debtors are operating their business and managing their property as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Concurrent with the

filing of this Motion, the Debtors have also filed a motion requesting procedural consolidation and

joint administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). No request

for the appointment of a trustee or examiner has been made in these chapter 11 cases and no official

committees have been appointed or designated.



2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
     Mashinsky Declaration or the Campagna Declaration (together, the “First Day Declarations”), as applicable.


                                                       3
 22-10964-mg       Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32             Main Document
                                          Pg 4 of 48



                                  The Debtors’ Global Network

       9.      As described in the First Day Declarations, the Debtors’ business operations and

customer base are international in scope, and they operate in over 100 countries. Celsius has

numerous operations outside of the United States, including entities located in the United

Kingdom, Australia, Israel, Cyprus, Serbia, Bulgaria, Gibraltar, and Lithuania.

       10.     The Debtors’ customers and contract counterparties are located in various foreign

jurisdictions and may be unfamiliar with the chapter 11 process, including the scope of a debtor in

possession’s authority to operate its business and the importance of the automatic stay. The

Debtors may owe certain of these customers and contract counterparties prepetition obligations.

These creditors—and others—may attempt to take actions violating the automatic stay to the

detriment of the Debtors, their estates, and other creditors.

       11.     In addition, upon the commencement of these chapter 11 cases, non-U.S.

counterparties to certain leases and executory contracts could attempt to terminate such leases or

contracts, including pursuant to ipso facto provisions in contravention of sections 362 and 365 of

the Bankruptcy Code. Similarly, governmental units outside of the United States may deny,

suspend, terminate, or otherwise place conditions upon certain licenses, permits, charters,

franchises, or other similar grants held by a Debtor that is required for the Debtors’ ongoing

business operations, in violation of section 525 of the Bankruptcy Code.

       12.     The Debtors seek the relief requested herein out of an abundance of caution and to

assist them in better informing non-U.S. creditors and other foreign stakeholders of the broad

protections offered by the Bankruptcy Code. For the avoidance of doubt, the Debtors do not seek

to expand or enlarge the rights afforded to them under the Bankruptcy Code with this Motion.

Instead, the Debtors seek only to affirm those rights, and believe that an order from this Court will



                                                  4
 22-10964-mg       Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32             Main Document
                                          Pg 5 of 48



provide clarity for, and help protect the Debtors against improper actions taken by, non-U.S.

parties in interest, giving the Debtors the best chance to effectuate a successful reorganization.

                                          Basis for Relief

I.     Relief Should Be Granted Hereunder to Better Enforce the Automatic Stay,
       Anti-Discrimination, and Ipso Facto Provisions of the Bankruptcy Code.

       13.     As a result of the commencement of these chapter 11 cases, and by operation of

section 362 of the Bankruptcy Code, the automatic stay enjoins all persons from, among other

things, taking any action to obtain possession of property of the estate or to exercise control over

property of the estate. See 11 U.S.C. § 362(a)(3). The injunction contained in section 362 is a

core protection for debtors, providing them with a “breathing spell” from their creditors, which, in

combination with other provisions of the Bankruptcy Code, is essential to a debtor’s ability to

reorganize. See, e.g., In re Ionosphere Clubs, Inc., 922 F.2d 984, 989 (2d Cir. 1990) (citations

omitted).

       14.     Given its fundamental importance to a debtor’s reorganization, courts broadly

construe the Bankruptcy Code’s automatic stay provisions. In re NextWave Pers. Commc’ns.,

Inc., 244 B.R. 253, 271 (Bankr. S.D.N.Y. 2000). As such, the automatic stay has been held to

preclude unilateral actions by non-debtor parties to terminate contracts without court order,

protecting a debtor’s property and contracts wherever located and by whoever held. See, e.g.,

In re Mirant Corp., 440 F.3d 238 (5th Cir. 2006) (holding that the automatic stay prohibited

termination of debtor’s contract without further relief).

       15.     Furthermore, section 362 of the Bankruptcy Code applies worldwide. See In re

Bernard L. Madoff Inv. Secs. LLC, C a s e No. 08-1789 (BRL), 2012 WL 1570859 (S.D.N.Y.

May 4, 2012) (upholding extraterritorial enforcement of the automatic stay and injunction barring

foreign creditor’s lawsuit); In re Simon, 153 F.3d 991, 996 (9th Cir. 1998); In re Nakash,


                                                  5
 22-10964-mg       Doc 6    Filed 07/14/22 Entered 07/14/22 00:05:32            Main Document
                                         Pg 6 of 48



190 B.R. 763, 768 (Bankr. S.D.N.Y. 1996). The Bankruptcy Court has authority to fashion

appropriate remedies for violations of the automatic stay. See, e.g., 11 U.S.C. §§ 105(a), 362(k);

see In re C.W. Mining Co., 625 F.3d 1240, 1246 (10th Cir. 2010) (holding that a debtor may pursue

remedies regarding a stay violation by contempt motion pursuant to Bankruptcy Rules 9020

and 9014); see also In re Meadows, 396 B.R. 485, 498 (6th Cir. BAP 2008) (“[A]ctions to recover

damages for stay violations are generally brought by motion, with attorney fees expressly

allowable under § 362(k).”).

          16.   Section 525 of the Bankruptcy Code prohibits governmental units from, among

other things: (a) denying, revoking, suspending, or refusing to renew any license, permit, charter,

franchise, or other similar grant to the Debtors; (b) placing conditions upon such a grant to the

Debtors; or (c) discriminating against the Debtors with respect to such a grant, solely because the

Debtors are debtors under the Bankruptcy Code, may have been insolvent before the

commencement of these chapter 11 cases, or are insolvent during the pendency of these

chapter 11 cases. See In re Psycho-Therapy and Counseling Ctr., Inc., 195 B.R. 522, 533 (Bankr.

D. Col. 1996) (holding that the debtor’s exclusion from a governmental program on account of its

non-payment of a dischargeable debt would interfere with the debtor’s breathing spell and fresh

start).

          17.   Section 365(e)(1)(B) of the Bankruptcy Code prohibits counterparties to debtor

contracts from terminating or modifying such contracts, including rights or obligations thereunder,

solely on account of a debtor’s bankruptcy filing—invalidating such “ipso facto” provisions.

Section 365 of the Bankruptcy Code also prohibits, absent court approval, third parties from

enforcing the terms of a contract against the Debtors.       See NLRB v. Bildisco & Bildisco,

465 U.S. 513, 531–32 (1984). Third parties must thus continue to perform under executory



                                                6
 22-10964-mg        Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32             Main Document
                                           Pg 7 of 48



contracts until they are assumed or rejected. See In re Calpine Corp., No. 06-10678, 2009 Bankr.

LEXIS 1041, at *15 (Bankr. S.D.N.Y. May 7, 2009); In re El Paso Refinery, L.P., 196 B.R. 58,

72 (Bankr. W.D. Tex. 1996).

        18.     Pursuant to section 105(a) of the Bankruptcy Code, the Court may issue “any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

Section 105(a) therefore authorizes a bankruptcy court to issue injunctions or take other necessary

steps in aid of its jurisdiction. See, e.g., MacArthur Co. v. Johns-Manville Corp., 837 F.2d 89, 93

(2d Cir. 1988); United States v. Sutton, 786 F.2d 1305, 1307 (5th Cir. 1986). Such orders are

appropriate where, as here, they are essential to the debtor’s reorganization efforts and do not

burden creditors. See In re Momentum Mfg. Corp., 25 F.3d 1132, 1136 (2d Cir. 1994) (holding

that, as courts of equity, bankruptcy courts are empowered to invoke equitable principles to

achieve fairness and justice in the reorganization process).

        19.     The application of the protections afforded a debtor by sections 362, 365, and 525

of the Bankruptcy Code is            automatic upon the filing of            a chapter   11 petition.

See 11 U.S.C. § 362(a)(3) (“[A] petition filed under section 301 . . . of this title . . . operates

as a stay, applicable to all entities, of, [among other things,] any act to obtain possession of

property of the estate or of property from the estate or to exercise control over property of the

estate.”); 11 U.S.C. § 365(e)(1) (“[A]ny right or obligation under [an executory contract or

unexpired lease of the debtor] may not be terminated or modified, at any time after the

commencement of the case solely because” an ipso facto provision); 11 U.S.C. § 525(a) (“[A

governmental unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter,

franchise, or other similar grant to, condition such a grant to, discriminate with respect to such a

grant against [. . .] a person that is or has been a debtor under this title.”).



                                                    7
    22-10964-mg        Doc 6      Filed 07/14/22 Entered 07/14/22 00:05:32                        Main Document
                                               Pg 8 of 48



         20.      Despite the automatic effect of these statutes, however, non-U.S. creditors

unfamiliar with the Bankruptcy Code may attempt to proceed against the Debtors’ property outside

the United States even after the Debtors file voluntary petitions triggering the automatic relief

provided under the Bankruptcy Code. Such unilateral self-help, litigation, or collection actions

could adversely impact the Debtors’ ordinary course operations, thereby jeopardizing the Debtors’

reorganization and resulting in irreparable harm to the estates and interested parties. Although the

automatic stay, anti-discrimination provisions, and ipso facto protections are self-executing on the

Petition Date, the Debtors believe that a Court order is necessary and appropriate to better enforce

creditor compliance with the Bankruptcy Code. To that end, the Debtors submit that service of

the Notice in appropriate circumstances will advance the efficient administration of these

chapter 11 cases.

         21.      Granting the relief requested herein will better enable the Debtors to inform

non-U.S. creditors and interested parties of debtor protections that may be unfamiliar to them. It

will help ensure that (a) parties to unexpired leases and executory contracts with the Debtors

continue to perform their duties and obligations thereunder, (b) creditors are less likely to seize the

Debtors’ assets or take other actions violating the automatic stay, and (c) governmental units do

not unfairly discriminate or take action against the Debtors violating the Bankruptcy Code. The

relief requested herein will facilitate the Debtors’ orderly transition into chapter 11 and minimize

the disruption of their business.3

         22.      Bankruptcy courts in this district have entered orders restating and enforcing

the protections set forth in sections 362, 365, and 525 of the Bankruptcy Code under



3
     As necessary, the Debtors anticipate translating this Motion, the Order, and/or the Notice in order to better inform
     creditors, governmental units, and interested parties of the relief requested herein.


                                                           8
    22-10964-mg       Doc 6      Filed 07/14/22 Entered 07/14/22 00:05:32                     Main Document
                                              Pg 9 of 48



comparable circumstances. See, e.g., In re Voyager Digital Holdings, Inc., No. 21-10943 (MEW)

(Bankr. S.D.N.Y. July 7, 2022) (enforcing and restating the provisions of sections 362 and 365 of

the Bankruptcy Code); In re GTT Communications, Inc., No. 21-11880 (MEW) (Bankr. S.D.N.Y.

Nov. 4, 2021) (same); In re Automotores Gildemeister SpA, Case No. 21-10685 (LGB)

(Bankr. S.D.N.Y. Apr. 16, 2021) (same); In re LATAM Airlines Grp., Case No. 20-11254 (JLG)

(Bankr. S.D.N.Y. May 28, 2020) (same); In re Aegean Marine Petroleum Network, Inc.,

No. 18-13374 (MEW) (Bankr. S.D.N.Y. Nov. 16, 2018) (same).4

                   The Requirements of Bankruptcy Rule 6003(b) Are Satisfied

         23.      Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable harm.”

As set forth in this Motion, the Debtors believe an immediate and orderly transition into chapter 11

is critical to the viability of their operations and that any delay in granting the relief requested

could hinder the Debtors operations and cause irreparable harm. Furthermore, the failure to receive

the requested relief during the first 21 days of these chapter 11 cases would severely disrupt the

Debtors’ operations at this critical juncture. Accordingly, the Debtors submit that they have

satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support the

relief requested herein.

                                                Motion Practice

         24.      This Motion includes citations to the applicable rules and statutory authorities upon

which the relief requested herein is predicated and a discussion of their application to this Motion.

Accordingly, the Debtors submit that this Motion satisfies Local Rule 9013-1(a).



4
     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
     Copies of these orders are available upon request of the Debtors’ proposed counsel.


                                                         9
 22-10964-mg       Doc 6    Filed 07/14/22 Entered 07/14/22 00:05:32             Main Document
                                         Pg 10 of 48



                                              Notice

       25.     The Debtors will provide notice of this Motion to the following parties or their

respective counsel: (a) the United States Trustee for the Southern District of New York;

(b) the holders of the 50 largest unsecured claims against the Debtors (on a consolidated basis);

(c) the United States Attorney’s Office for the Southern District of New York; (d) the Internal

Revenue Service; (e) the offices of the attorneys general in the states in which the Debtors operate;

(f) the Securities and Exchange Commission; and (g) any party that has requested notice pursuant

to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested,

no other or further notice need be given.

                                        No Prior Request

       26.     No prior request for the relief sought in this Motion has been made to this or any

other court.




                                                 10
  22-10964-mg      Doc 6    Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                         Pg 11 of 48



        WHEREFORE, the Debtors respectfully request that the Court enter the Order attached

 hereto as Exhibit A granting the relief requested herein and such other relief as the Court deems

 appropriate under the circumstances.

New York, New York                               /s/ Joshua A. Sussberg
Dated: July 14, 2022                             KIRKLAND & ELLIS LLP
                                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                                 Joshua A. Sussberg, P.C.
                                                 601 Lexington Avenue
                                                 New York, New York 10022
                                                 Telephone:      (212) 446-4800
                                                 Facsimile:      (212) 446-4900
                                                 Email:          jsussberg@kirkland.com

                                                  - and -

                                                 Patrick J. Nash, Jr., P.C. (pro hac vice pending)
                                                 Ross M. Kwasteniet, P.C. (pro hac vice pending)
                                                 300 North LaSalle Street
                                                 Chicago, Illinois 60654
                                                 Telephone:       (312) 862-2000
                                                 Facsimile:       (312) 862-2200
                                                 Email:           patrick.nash@kirkland.com
                                                                  ross.kwasteniet@kirkland.com

                                                 Proposed Counsel to the Debtors and
                                                 Debtors in Possession
22-10964-mg   Doc 6   Filed 07/14/22 Entered 07/14/22 00:05:32   Main Document
                                   Pg 12 of 48



                                  Exhibit A

                                Proposed Order
    22-10964-mg         Doc 6      Filed 07/14/22 Entered 07/14/22 00:05:32                      Main Document
                                                Pg 13 of 48



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                           )
    In re:                                                                 )     Chapter 11
                                                                           )
    CELSIUS NETWORK LLC, et al.,1                                          )     Case No. 22-10964 (___)
                                                                           )
                                                Debtors.                   )     (Joint Administration Requested)
                                                                           )

                          ORDER (I) RESTATING AND
                  ENFORCING THE WORLDWIDE AUTOMATIC
           STAY, ANTI-DISCRIMINATION PROVISIONS, AND IPSO FACTO
         PROTECTIONS OF THE BANKRUPTCY CODE, (II) APPROVING THE
       FORM AND MANNER OF NOTICE, AND (III) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) restating and enforcing the

worldwide automatic stay, anti-discrimination provisions, and ipso facto protections of the

Bankruptcy Code, (b) approving the form and manner of notice, and (c) granting related relief, all

as more fully set forth in the Motion; and upon the First Day Declarations; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the Southern District of New York,

entered February 1, 2012; and this Court having the power to enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
      LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s principal
      place of business and the Debtors’ service address in these chapter 11 cases is 121 River Street, PH05, Hoboken,
      New Jersey 07030.

2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
    22-10964-mg         Doc 6    Filed 07/14/22 Entered 07/14/22 00:05:32           Main Document
                                              Pg 14 of 48



this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

         1.       The Motion is granted as set forth herein.

         2.       Subject to the exceptions to the automatic stay contained in Bankruptcy Code

section 362(b)3 and the right of any party in interest to seek relief from the automatic stay in

accordance with Bankruptcy Code section 362(d), all persons (including individuals, partnerships,

corporations, and other entities and all those acting on their behalf) and governmental units,

whether of the United States, any state or locality therein or any territory or possession thereof, or

any non-U.S. jurisdiction (including any division, department, agency, instrumentality or service

thereof, and all those acting on their behalf), are hereby stayed, restrained and enjoined from:

                  (a)     commencing or continuing (including the issuance or employment of
                          process) any judicial, administrative, or other action or proceeding against
                          the Debtors that was or could have been commenced before the
                          commencement of the Debtors’ chapter 11 cases or recovering a claim
                          against the Debtors that arose before the commencement of the Debtors’
                          chapter 11 cases;




3
     The text of Bankruptcy Code section 362 is attached hereto as Exhibit A.


                                                         2
    22-10964-mg         Doc 6    Filed 07/14/22 Entered 07/14/22 00:05:32            Main Document
                                              Pg 15 of 48



                  (b)      enforcing, against the Debtors or against property of their estates, a
                           judgment or order obtained before the commencement of the Debtors’
                           chapter 11 cases;

                  (c)      taking any action, whether inside or outside the United States, to obtain
                           possession of property of the Debtors’ estates, wherever located or to
                           exercise control over property of the estates or interfere in any way with the
                           conduct by the Debtors of their business, including, without limitation,
                           attempts to arrest, seize or reclaim any assets in which the Debtors have
                           legal or equitable interests;

                  (d)      taking any action to create, perfect, or enforce any lien against the property
                           of the Debtors’ estates;

                  (e)      taking any action to create, perfect, or enforce against property of the
                           Debtors any lien to the extent that such lien secures a claim that arose prior
                           to the commencement of the Debtors’ chapter 11 cases;

                  (f)      taking any action to collect, assess, or recover a claim against the Debtors
                           that arose prior to the commencement of the Debtors’ chapter 11 cases;

                  (g)      offsetting any debt owing to the Debtors that arose before the
                           commencement of the Debtors’ chapter 11 cases against any claim against
                           the Debtors; and

                  (h)      commencing or continuing any proceeding before the United States
                           Tax Court concerning the Debtors, subject to the exceptions set forth in
                           provisions of 11 U.S.C. § 362(b).

         3.       Pursuant to sections 362 and 3654 of the Bankruptcy Code, notwithstanding a

provision in a contract or lease or any applicable law, all persons are hereby stayed, restrained, and

enjoined from terminating or modifying any and all contracts and leases to which the Debtors are

party or signatory, at any time after the commencement of these chapter 11 cases, because of a

provision in such contract or lease that is conditioned on the (a) insolvency or financial condition

of the Debtors at any time before the closing of these chapter 11 cases or (b) commencement of

these chapter 11 cases under the Bankruptcy Code. Accordingly, all such persons are required to




4
     The text of Bankruptcy Code section 365 is attached hereto as Exhibit B.


                                                         3
    22-10964-mg       Doc 6      Filed 07/14/22 Entered 07/14/22 00:05:32         Main Document
                                              Pg 16 of 48



continue to perform their obligations under such leases and contracts during the

postpetition period.

         4.       Pursuant to section 5255 of the Bankruptcy Code, all foreign or domestic

governmental units and other regulatory authorities and all those acting on their behalf are stayed,

restrained, prohibited, and enjoined from: (a) denying, revoking, suspending, or refusing to renew

any license, permit, charter, franchise, or other similar grant to the Debtors or the Debtors’

affiliates on account of (i) the commencement of the Debtors’ chapter 11 cases, (ii) the Debtors’

insolvency, or (iii) the fact that the Debtors have not paid a debt that is dischargeable in the

chapter 11 cases; (b) placing conditions upon such a grant to the Debtors or the Debtors’ affiliates

on account of (i) the commencement of the Debtors’ chapter 11 cases, (ii) the Debtors’ insolvency,

or (iii) the fact that the Debtors have not paid a debt that is dischargeable in the chapter 11 cases;

(c) discriminating against the Debtors or the Debtors’ affiliates on account of (i) the

commencement of the Debtors’ chapter 11 cases, (ii) the Debtors’ insolvency, or (iii) the fact that

the Debtors have not paid a debt that is dischargeable in the chapter 11 cases; or (d) interfering in

any way with any and all property of the Debtors’ estates wherever located.

         5.       The form of Notice, substantially in the form attached as Exhibit 1 hereto, is

approved. The Debtors are authorized to serve the Notice upon creditors, governmental units or

other regulatory authorities, and/or interested parties wherever located.

         6.       Nothing in this Order or the Motion shall constitute a rejection or assumption by

the Debtors, as debtors in possession, of any executory contract or unexpired lease.

         7.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).




5
     The text of Bankruptcy Code section 525 is attached hereto as Exhibit C.


                                                         4
 22-10964-mg      Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32            Main Document
                                         Pg 17 of 48



       8.      For the avoidance of doubt, this Order confirms, but does not enlarge, the

provisions or modify the protections of the Bankruptcy Code.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 New York, New York
 Dated: ____________, 2022

                                                THE HONORABLE [●]
                                                UNITED STATES BANKRUPTCY JUDGE




                                                 5
22-10964-mg   Doc 6   Filed 07/14/22 Entered 07/14/22 00:05:32   Main Document
                                   Pg 18 of 48



                                   Exhibit A

                          Bankruptcy Code Section 362
 22-10964-mg       Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32             Main Document
                                          Pg 19 of 48



§ 362. Automatic Stay

(a) Except as provided in subsection (b) of this section, a petition filed under section 301, 302, or
303 of this title, or an application filed under section 5(a)(3) of the Securities Investor Protection
Act of 1970, operates as a stay, applicable to all entities, of--
         (1) the commencement or continuation, including the issuance or employment of
             process, of a judicial, administrative, or other action or proceeding against the
             debtor that was or could have been commenced before the commencement of the
             case under this title, or to recover a claim against the debtor that arose before the
             commencement of the case under this title;
         (2) the enforcement, against the debtor or against property of the estate, of a judgment
             obtained before the commencement of the case under this title;
         (3) any act to obtain possession of property of the estate or of property from the estate
             or to exercise control over property of the estate;
         (4) any act to create, perfect, or enforce any lien against property of the estate;
         (5) any act to create, perfect, or enforce against property of the debtor any lien to the
             extent that such lien secures a claim that arose before the commencement of the
             case under this title;
         (6) any act to collect, assess, or recover a claim against the debtor that arose before
             the commencement of the case under this title;
         (7) the setoff of any debt owing to the debtor that arose before the commencement of
             the case under this title against any claim against the debtor; and
         (8) the commencement or continuation of a proceeding before the United States Tax
             Court concerning a tax liability of a debtor that is a corporation for a taxable period
             the bankruptcy court may determine or concerning the tax liability of a debtor who
             is an individual for a taxable period ending before the date of the order for relief
             under this title.
(b) The filing of a petition under section 301, 302, or 303 of this title, or of an application under
section 5(a)(3) of the Securities Investor Protection Act of 1970, does not operate as a stay--
         (1) under subsection (a) of this section, of the commencement or continuation of a
             criminal action or proceeding against the debtor;
         (2) under subsection (a)--
                     (A) of the commencement or continuation of a civil action or proceeding-
                           (i) for the establishment of paternity;
                           (ii) for the establishment or modification of an order for domestic
                                support obligations;
                           (iii)concerning child custody or visitation;
                           (iv) for the dissolution of a marriage, except to the extent that such
                                proceeding seeks to determine the division of property that is
                                property of the estate; or
                           (v) regarding domestic violence;
                      (B) of the collection of a domestic support obligation from property that is not
                      property of the estate;
                      (C) with respect to the withholding of income that is property of the estate or
                      property of the debtor for payment of a domestic support obligation under a
                      judicial or administrative order or a statute;
22-10964-mg    Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                      Pg 20 of 48



                 (D) of the withholding, suspension, or restriction of a driver’s license, a
                  professional or occupational license, or a recreational license, under State law,
                  as specified in section 466(a)(16) of the Social Security Act;
                 (E) of the reporting of overdue support owed by a parent to any consumer
                  reporting agency as specified in section 466(a)(7) of the Social Security Act;
                  (F) of the interception of a tax refund, as specified in sections 464 and
                  466(a)(3) of the Social Security Act or under an analogous State law; or
                 (G) of the enforcement of a medical obligation, as specified under title IV of
                  the Social Security Act;
     (3) under subsection (a) of this section, of any act to perfect, or to maintain or continue
         the perfection of, an interest in property to the extent that the trustee’s rights and
         powers are subject to such perfection under section 546(b) of this title or to the
         extent that such act is accomplished within the period provided under section
         547(e)(2)(A) of this title;
     (4) under paragraph (1), (2), (3), or (6) of subsection (a) of this section, of the
         commencement or continuation of an action or proceeding by a governmental unit
         or any organization exercising authority under the Convention on the Prohibition
         of the Development, Production, Stockpiling and Use of Chemical Weapons and
         on Their Destruction, opened for signature on January 13, 1993, to enforce such
         governmental unit’s or organization’s police and regulatory power, including the
         enforcement of a judgment other than a money judgment, obtained in an action or
         proceeding by the governmental unit to enforce such governmental unit’s or
         organization’s police or regulatory power;
     [(5) Repealed. Pub.L. 105-277, Div. I, Title VI, § 603(1), Oct. 21, 1998, 112 Stat.
         2681886]
     (6) under subsection (a) of this section, of the exercise by a commodity broker,
         forward contract merchant, stockbroker, financial institution, financial participant,
         or securities clearing agency of any contractual right (as defined in section 555 or
         556) under any security agreement or arrangement or other credit enhancement
         forming a part of or related to any commodity contract, forward contract or
         securities contract, or of any contractual right (as defined in section 555 or 556) to
         offset or net out any termination value, payment amount, or other transfer
         obligation arising under or in connection with 1 or more such contracts, including
         any master agreement for such contracts;
     (7) under subsection (a) of this section, of the exercise by a repo participant or financial
         participant of any contractual right (as defined in section 559) under any security
         agreement or arrangement or other credit enhancement forming a part of or related
         to any repurchase agreement, or of any contractual right (as defined in section 559)
         to offset or net out any termination value, payment amount, or other transfer
         obligation arising under or in connection with 1 or more such agreements,
         including any master agreement for such agreements;
     (8) under subsection (a) of this section, of the commencement of any action by the
         Secretary of Housing and Urban Development to foreclose a mortgage or deed of
         trust in any case in which the mortgage or deed of trust held by the Secretary is
         insured or was formerly insured under the National Housing Act and covers
         property, or combinations of property, consisting of five or more living units;


                                               2
22-10964-mg     Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32               Main Document
                                       Pg 21 of 48



     (9) under subsection (a), of--
                  (A) an audit by a governmental unit to determine tax liability;
                  (B) the issuance to the debtor by a governmental unit of a notice of tax
                   deficiency;
                  (C) a demand for tax returns; or
                  (D) the making of an assessment for any tax and issuance of a notice and
                   demand for payment of such an assessment (but any tax lien that would
                   otherwise attach to property of the estate by reason of such an assessment shall
                   not take effect unless such tax is a debt of the debtor that will not be discharged
                   in the case and such property or its proceeds are transferred out of the estate
                   to, or otherwise revested in, the debtor).
     (10) under subsection (a) of this section, of any act by a lessor to the debtor under a
         lease of nonresidential real property that has terminated by the expiration of the
         stated term of the lease before the commencement of or during a case under this
         title to obtain possession of such property;
     (11) under subsection (a) of this section, of the presentment of a negotiable instrument
         and the giving of notice of and protesting dishonor of such an instrument;
     (12) under subsection (a) of this section, after the date which is 90 days after the filing
         of such petition, of the commencement or continuation, and conclusion to the entry
         of final judgment, of an action which involves a debtor subject to reorganization
         pursuant to chapter 11 of this title and which was brought by the Secretary of
         Transportation under section 31325 of title 46 (including distribution of any
         proceeds of sale) to foreclose a preferred ship or fleet mortgage, or a security
         interest in or relating to a vessel or vessel under construction, held by the Secretary
         of Transportation under chapter 537 of title 46 or section 109(h) of title 49, or
         under applicable State law;
     (13) under subsection (a) of this section, after the date which is 90 days after the filing
         of such petition, of the commencement or continuation, and conclusion to the entry
         of final judgment, of an action which involves a debtor subject to reorganization
         pursuant to chapter 11 of this title and which was brought by the Secretary of
         Commerce under section 31325 of title 46 (including distribution of any proceeds
         of sale) to foreclose a preferred ship or fleet mortgage in a vessel or a mortgage,
         deed of trust, or other security interest in a fishing facility held by the Secretary of
         Commerce under chapter 537 of title 46;
     (14) under subsection (a) of this section, of any action by an accrediting agency
         regarding the accreditation status of the debtor as an educational institution;
     (15) under subsection (a) of this section, of any action by a State licensing body
         regarding the licensure of the debtor as an educational institution;
     (16) under subsection (a) of this section, of any action by a guaranty agency, as defined
         in section 435(j) of the Higher Education Act of 1965 or the Secretary of Education
         regarding the eligibility of the debtor to participate in programs authorized under
         such Act;
     (17) under subsection (a) of this section, of the exercise by a swap participant or
         financial participant of any contractual right (as defined in section 560) under any
         security agreement or arrangement or other credit enhancement forming a part of
         or related to any swap agreement, or of any contractual right (as defined in section


                                                3
22-10964-mg     Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32               Main Document
                                       Pg 22 of 48



         560) to offset or net out any termination value, payment amount, or other transfer
         obligation arising under or in connection with 1 or more such agreements,
         including any master agreement for such agreements;
     (18) under subsection (a) of the creation or perfection of a statutory lien for an ad
         valorem property tax, or a special tax or special assessment on real property
         whether or not ad valorem, imposed by a governmental unit, if such tax or
         assessment comes due after the date of the filing of the petition;
     (19) under subsection (a), of withholding of income from a debtor’s wages and
         collection of amounts withheld, under the debtor’s agreement authorizing that
         withholding and collection for the benefit of a pension, profit-sharing, stock bonus,
         or other plan established under section 401, 403, 408, 408A, 414, 457, or 501(c)
         of the Internal Revenue Code of 1986, that is sponsored by the employer of the
         debtor, or an affiliate, successor, or predecessor of such employer--
                 (A) to the extent that the amounts withheld and collected are used solely for
                  payments relating to a loan from a plan under section 408(b)(1) of the
                  Employee Retirement Income Security Act of 1974 or is subject to section
                  72(p) of the Internal Revenue Code of 1986; or
                 (B) a loan from a thrift savings plan permitted under subchapter III of chapter
                  84 of title 5, that satisfies the requirements of section 8433(g) of such title; but
                  nothing in this paragraph may be construed to provide that any loan made
                  under a governmental plan under section 414(d), or a contract or account under
                  section 403(b), of the Internal Revenue Code of 1986 constitutes a claim or a
                  debt under this title;
     (20) under subsection (a), of any act to enforce any lien against or security interest in
         real property following entry of the order under subsection (d)(4) as to such real
         property in any prior case under this title, for a period of 2 years after the date of
         the entry of such an order, except that the debtor, in a subsequent case under this
         title, may move for relief from such order based upon changed circumstances or
         for other good cause shown, after notice and a hearing;
     (21) under subsection (a), of any act to enforce any lien against or security interest in
         real property--
                 (A) if the debtor is ineligible under section 109(g) to be a debtor in a case under
                  this title; or
                 (B) if the case under this title was filed in violation of a bankruptcy court order
                  in a prior case under this title prohibiting the debtor from being a debtor in
                  another case under this title;
     (22) subject to subsection (l), under subsection (a)(3), of the continuation of any
         eviction, unlawful detainer action, or similar proceeding by a lessor against a
         debtor involving residential property in which the debtor resides as a tenant under
         a lease or rental agreement and with respect to which the lessor has obtained before
         the date of the filing of the bankruptcy petition, a judgment for possession of such
         property against the debtor;
     (23) subject to subsection (m), under subsection (a)(3), of an eviction action that seeks
         possession of the residential property in which the debtor resides as a tenant under
         a lease or rental agreement based on endangerment of such property or the illegal
         use of controlled substances on such property, but only if the lessor files with the


                                                4
22-10964-mg    Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32             Main Document
                                      Pg 23 of 48



         court, and serves upon the debtor, a certification under penalty of perjury that such
         an eviction action has been filed, or that the debtor, during the 30-day period
         preceding the date of the filing of the certification, has endangered property or
         illegally used or allowed to be used a controlled substance on the property;
     (24) under subsection (a), of any transfer that is not avoidable under section 544 and
         that is not avoidable under section 549;
     (25) under subsection (a), of--
                 (A) the commencement or continuation of an investigation or action by a
                  securities self regulatory organization to enforce such organization’s
                  regulatory power;
                 (B) the enforcement of an order or decision, other than for monetary sanctions,
                  obtained in an action by such securities self regulatory organization to enforce
                  such organization’s regulatory power; or
                 (C) any act taken by such securities self regulatory organization to delist,
                  delete, or refuse to permit quotation of any stock that does not meet applicable
                  regulatory requirements;
     (26) under subsection (a), of the setoff under applicable nonbankruptcy law of an
         income tax refund, by a governmental unit, with respect to a taxable period that
         ended before the date of the order for relief against an income tax liability for a
         taxable period that also ended before the date of the order for relief, except that in
         any case in which the setoff of an income tax refund is not permitted under
         applicable nonbankruptcy law because of a pending action to determine the
         amount or legality of a tax liability, the governmental unit may hold the refund
         pending the resolution of the action, unless the court, on the motion of the trustee
         and after notice and a hearing, grants the taxing authority adequate protection
         (within the meaning of section 361) for the secured claim of such authority in the
         setoff under section 506(a);
     (27) under subsection (a) of this section, of the exercise by a master netting agreement
         participant of any contractual right (as defined in section 555, 556, 559, or 560)
         under any security agreement or arrangement or other credit enhancement forming
         a part of or related to any master netting agreement, or of any contractual right (as
         defined in section 555, 556, 559, or 560) to offset or net out any termination value,
         payment amount, or other transfer obligation arising under or in connection with 1
         or more such master netting agreements to the extent that such participant is
         eligible to exercise such rights under paragraph (6), (7), or (17) for each individual
         contract covered by the master netting agreement in issue;
     (28) under subsection (a), of the exclusion by the Secretary of Health and Human
         Services of the debtor from participation in the medicare program or any other
         Federal health care program (as defined in section 1128B(f) of the Social Security
         Act pursuant to title XI or XVIII of such Act); and (29) under subsection (a)(1) of
         this section, of any action by--
                 (A) an amateur sports organization, as defined in section 220501(b) of title 36,
                  to replace a national governing body, as defined in that section, under section
                  220528 of that title; or




                                              5
 22-10964-mg        Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32               Main Document
                                           Pg 24 of 48



                    (B) the corporation, as defined in section 220501(b) of title 36, to revoke the
                     certification of a national governing body, as defined in that section, under
                     section 220521 of that title.
            The provisions of paragraphs (12) and (13) of this subsection shall apply with
             respect to any such petition filed on or before December 31, 1989.
(c) Except as provided in subsections (d), (e), (f), and (h) of this section--
        (1) the stay of an act against property of the estate under subsection (a) of this section
            continues until such property is no longer property of the estate;
        (2) the stay of any other act under subsection (a) of this section continues until the
            earliest of--
                    (A) the time the case is closed;
                    (B) the time the case is dismissed; or
                    (C) if the case is a case under chapter 7 of this title concerning an individual or
                     a case under chapter 9, 11, 12, or 13 of this title, the time a discharge is granted
                     or denied;
        (3) if a single or joint case is filed by or against a debtor who is an individual in a case
            under chapter 7, 11, or 13, and if a single or joint case of the debtor was pending
            within the preceding 1-year period but was dismissed, other than a case refiled
            under a chapter other than chapter 7 after dismissal under section 707(b)--
                    (A) the stay under subsection (a) with respect to any action taken with respect
                     to a debt or property securing such debt or with respect to any lease shall
                     terminate with respect to the debtor on the 30th day after the filing of the later
                     case;
                    (B) on the motion of a party in interest for continuation of the automatic stay
                     and upon notice and a hearing, the court may extend the stay in particular cases
                     as to any or all creditors (subject to such conditions or limitations as the court
                     may then impose) after notice and a hearing completed before the expiration
                     of the 30-day period only if the party in interest demonstrates that the filing of
                     the later case is in good faith as to the creditors to be stayed; and
                    (C) for purposes of subparagraph (B), a case is presumptively filed not in good
                     faith (but such presumption may be rebutted by clear and convincing evidence
                     to the contrary)--
                             (i) as to all creditors, if--
                                       (I) more than 1 previous case under any of chapters 7, 11,
                                      and 13 in which the individual was a debtor was pending
                                      within the preceding 1-year period;
                                      (II) a previous case under any of chapters 7, 11, and 13 in
                                      which the individual was a debtor was dismissed within
                                      such 1-year period, after the debtor failed to--
                                             (aa) file or amend the petition or other documents as
                                             required by this title or the court without substantial
                                             excuse (but mere inadvertence or negligence shall not be
                                             a substantial excuse unless the dismissal was caused by
                                             the negligence of the debtor’s attorney);
                                             (bb) provide adequate protection as ordered by the court;
                                             or


                                                   6
22-10964-mg   Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32                Main Document
                                     Pg 25 of 48



                                        (cc) perform the terms of a plan confirmed by the court;
                                        or
                                (III) there has not been a substantial change in the financial
                                 or personal affairs of the debtor since the dismissal of the
                                 next most previous case under chapter 7, 11, or 13 or any
                                 other reason to conclude that the later case will be
                                 concluded--
                                        (aa) if a case under chapter 7, with a discharge; or
                                        (bb) if a case under chapter 11 or 13, with a confirmed
                                        plan that will be fully performed; and
                       (ii) as to any creditor that commenced an action under subsection (d)
                      in a previous case in which the individual was a debtor if, as of the
                      date of dismissal of such case, that action was still pending or had been
                      resolved by terminating, conditioning, or limiting the stay as to actions
                      of such creditor; and
     (4)
              (A)
                        (i) if a single or joint case is filed by or against a debtor who is an
                      individual under this title, and if 2 or more single or joint cases of the
                      debtor were pending within the previous year but were dismissed,
                      other than a case refiled under a chapter other than chapter 7 after
                      dismissal under section 707(b), the stay under subsection (a) shall not
                      go into effect upon the filing of the later case; and
                       (ii) on request of a party in interest, the court shall promptly enter an
                      order confirming that no stay is in effect;
              (B) if, within 30 days after the filing of the later case, a party in interest requests
               the court may order the stay to take effect in the case as to any or all creditors
               (subject to such conditions or limitations as the court may impose), after notice
               and a hearing, only if the party in interest demonstrates that the filing of the
               later case is in good faith as to the creditors to be stayed;
              (C) a stay imposed under subparagraph (B) shall be effective on the date of the
               entry of the order allowing the stay to go into effect; and
              (D) for purposes of subparagraph (B), a case is presumptively filed not in good
               faith (but such presumption may be rebutted by clear and convincing evidence
               to the contrary)--
                        (i) as to all creditors if--
                                  (I) 2 or more previous cases under this title in which the
                                 individual was a debtor were pending within the 1-year
                                 period;
                                 (II) a previous case under this title in which the individual
                                 was a debtor was dismissed within the time period stated in
                                 this paragraph after the debtor failed to file or amend the
                                 petition or other documents as required by this title or the
                                 court without substantial excuse (but mere inadvertence or
                                 negligence shall not be substantial excuse unless the
                                 dismissal was caused by the negligence of the debtor’s


                                              7
 22-10964-mg        Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                           Pg 26 of 48



                                       attorney), failed to provide adequate protection as ordered
                                       by the court, or failed to perform the terms of a plan
                                       confirmed by the court; or
                                      (III) there has not been a substantial change in the financial
                                       or personal affairs of the debtor since the dismissal of the
                                       next most previous case under this title, or any other reason
                                       to conclude that the later case will not be concluded, if a
                                       case under chapter 7, with a discharge, and if a case under
                                       chapter 11 or 13, with a confirmed plan that will be fully
                                       performed; or (ii) as to any creditor that commenced an
                                       action under subsection (d) in a previous case in which the
                                       individual was a debtor if, as of the date of dismissal of such
                                       case, such action was still pending or had been resolved by
                                       terminating, conditioning, or limiting the stay as to such
                                       action of such creditor.
(d) On request of a party in interest and after notice and a hearing, the court shall grant relief from
the stay provided under subsection (a) of this section, such as by terminating, annulling, modifying,
or conditioning such stay--
         (1) for cause, including the lack of adequate protection of an interest in property of
             such party in interest;
         (2) with respect to a stay of an act against property under subsection (a) of this section,
             if-
                     (A) the debtor does not have an equity in such property; and
                     (B) such property is not necessary to an effective reorganization;
             (3) with respect to a stay of an act against single asset real estate under subsection
             (a), by a creditor whose claim is secured by an interest in such real estate, unless,
             not later than the date that is 90 days after the entry of the order for relief (or such
             later date as the court may determine for cause by order entered within that 90-day
             period) or 30 days after the court determines that the debtor is subject to this
             paragraph, whichever is later--
                     (A) the debtor has filed a plan of reorganization that has a reasonable possibility
                      of being confirmed within a reasonable time; or
                     (B) the debtor has commenced monthly payments that--
                              (i) may, in the debtor’s sole discretion, notwithstanding section
                            363(c)(2), be made from rents or other income generated before, on,
                            or after the date of the commencement of the case by or from the
                            property to each creditor whose claim is secured by such real estate
                            (other than a claim secured by a judgment lien or by an unmatured
                            statutory lien); and
                             (ii) are in an amount equal to interest at the then applicable nondefault
                            contract rate of interest on the value of the creditor’s interest in the real
                            estate; or
             (4) with respect to a stay of an act against real property under subsection (a), by a
             creditor whose claim is secured by an interest in such real property, if the court
             finds that the filing of the petition was part of a scheme to delay, hinder, or defraud
             creditors that involved either--


                                                   8
 22-10964-mg       Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                          Pg 27 of 48



                   (A) transfer of all or part ownership of, or other interest in, such real property
                    without the consent of the secured creditor or court approval; or
                   (B) multiple bankruptcy filings affecting such real property.
                    If recorded in compliance with applicable State laws governing notices of
                    interests or liens in real property, an order entered under paragraph (4) shall be
                    binding in any other case under this title purporting to affect such real property
                    filed not later than 2 years after the date of the entry of such order by the court,
                    except that a debtor in a subsequent case under this title may move for relief
                    from such order based upon changed circumstances or for good cause shown,
                    after notice and a hearing. Any Federal, State, or local governmental unit that
                    accepts notices of interests or liens in real property shall accept any certified
                    copy of an order described in this subsection for indexing and recording.
(e)
         (1) Thirty days after a request under subsection (d) of this section for relief from the
             stay of any act against property of the estate under subsection (a) of this section,
             such stay is terminated with respect to the party in interest making such request,
             unless the court, after notice and a hearing, orders such stay continued in effect
             pending the conclusion of, or as a result of, a final hearing and determination under
             subsection (d) of this section. A hearing under this subsection may be a preliminary
             hearing, or may be consolidated with the final hearing under subsection (d) of this
             section. The court shall order such stay continued in effect pending the conclusion
             of the final hearing under subsection (d) of this section if there is a reasonable
             likelihood that the party opposing relief from such stay will prevail at the
             conclusion of such final hearing. If the hearing under this subsection is a
             preliminary hearing, then such final hearing shall be concluded not later than thirty
             days after the conclusion of such preliminary hearing, unless the 30-day period is
             extended with the consent of the parties in interest or for a specific time which the
             court finds is required by compelling circumstances.
         (2) Notwithstanding paragraph (1), in a case under chapter 7, 11, or 13 in which the
             debtor is an individual, the stay under subsection (a) shall terminate on the date
             that is 60 days after a request is made by a party in interest under subsection (d),
             unless--
                     (A) a final decision is rendered by the court during the 60-day period beginning
                      on the date of the request; or
                     (B) such 60-day period is extended--
                              (i) by agreement of all parties in interest; or
                             (ii) by the court for such specific period of time as the court finds is
                            required for good cause, as described in findings made by the court.
(f) Upon request of a party in interest, the court, with or without a hearing, shall grant such relief
from the stay provided under subsection (a) of this section as is necessary to prevent irreparable
damage to the interest of an entity in property, if such interest will suffer such damage before there
is an opportunity for notice and a hearing under subsection (d) or (e) of this section.
(g) In any hearing under subsection (d) or (e) of this section concerning relief from the stay of any
act under subsection (a) of this section--
         (1) the party requesting such relief has the burden of proof on the issue of the debtor’s
             equity in property; and


                                                  9
 22-10964-mg        Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32               Main Document
                                           Pg 28 of 48



        (2) the party opposing such relief has the burden of proof on all other issues.
(h)
          (1) In a case in which the debtor is an individual, the stay provided by subsection (a)
              is terminated with respect to personal property of the estate or of the debtor
              securing in whole or in part a claim, or subject to an unexpired lease, and such
              personal property shall no longer be property of the estate if the debtor fails within
              the applicable time set by section 521(a)(2)--
                      (A) to file timely any statement of intention required under section 521(a)(2)
                       with respect to such personal property or to indicate in such statement that the
                       debtor will either surrender such personal property or retain it and, if retaining
                       such personal property, either redeem such personal property pursuant to
                       section 722, enter into an agreement of the kind specified in section 524(c)
                       applicable to the debt secured by such personal property, or assume such
                       unexpired lease pursuant to section 365(p) if the trustee does not do so, as
                       applicable; and
                      (B) to take timely the action specified in such statement, as it may be amended
                       before expiration of the period for taking action, unless such statement
                       specifies the debtor’s intention to reaffirm such debt on the original contract
                       terms and the creditor refuses to agree to the reaffirmation on such terms.
          (2) Paragraph (1) does not apply if the court determines, on the motion of the trustee
              filed before the expiration of the applicable time set by section 521(a)(2), after
              notice and a hearing, that such personal property is of consequential value or
              benefit to the estate, and orders appropriate adequate protection of the creditor’s
              interest, and orders the debtor to deliver any collateral in the debtor’s possession
              to the trustee. If the court does not so determine, the stay provided by subsection
              (a) shall terminate upon the conclusion of the hearing on the motion.
(i) If a case commenced under chapter 7, 11, or 13 is dismissed due to the creation of a debt
repayment plan, for purposes of subsection (c)(3), any subsequent case commenced by the debtor
under any such chapter shall not be presumed to be filed not in good faith.
(j) On request of a party in interest, the court shall issue an order under subsection (c) confirming
that the automatic stay has been terminated.
(k)
          (1) Except as provided in paragraph (2), an individual injured by any willful violation
              of a stay provided by this section shall recover actual damages, including costs and
              attorneys’ fees, and, in appropriate circumstances, may recover punitive damages.
          (2) If such violation is based on an action taken by an entity in the good faith belief
              that subsection (h) applies to the debtor, the recovery under paragraph (1) of this
              subsection against such entity shall be limited to actual damages.
(l)
          (1) Except as otherwise provided in this subsection, subsection (b)(22) shall apply on
              the date that is 30 days after the date on which the bankruptcy petition is filed, if
              the debtor files with the petition and serves upon the lessor a certification under
              penalty of perjury that--
                      (A) under nonbankruptcy law applicable in the jurisdiction, there are
                       circumstances under which the debtor would be permitted to cure the entire



                                                   10
22-10964-mg     Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                       Pg 29 of 48



                  monetary default that gave rise to the judgment for possession, after that
                  judgment for possession was entered; and
                 (B) the debtor (or an adult dependent of the debtor) has deposited with the clerk
                  of the court, any rent that would become due during the 30-day period after the
                  filing of the bankruptcy petition.
     (2) If, within the 30-day period after the filing of the bankruptcy petition, the debtor
         (or an adult dependent of the debtor) complies with paragraph (1) and files with
         the court and serves upon the lessor a further certification under penalty of perjury
         that the debtor (or an adult dependent of the debtor) has cured, under
         nonbankruptcy law applicable in the jurisdiction, the entire monetary default that
         gave rise to the judgment under which possession is sought by the lessor,
         subsection (b)(22) shall not apply, unless ordered to apply by the court under
         paragraph (3).
     (3)
                 (A) If the lessor files an objection to any certification filed by the debtor under
                  paragraph (1) or (2), and serves such objection upon the debtor, the court shall
                  hold a hearing within 10 days after the filing and service of such objection to
                  determine if the certification filed by the debtor under paragraph (1) or (2) is
                  true.
                 (B) If the court upholds the objection of the lessor filed under subparagraph
                  (A)--
                           (i) subsection (b)(22) shall apply immediately and relief from the
                         stay provided under subsection (a)(3) shall not be required to enable
                         the lessor to complete the process to recover full possession of the
                         property; and
                          (ii) the clerk of the court shall immediately serve upon the lessor and
                         the debtor a certified copy of the court’s order upholding the lessor’s
                         objection.
     (4) If a debtor, in accordance with paragraph (5), indicates on the petition that there
         was a judgment for possession of the residential rental property in which the debtor
         resides and does not file a certification under paragraph (1) or (2)--
                 (A) subsection (b)(22) shall apply immediately upon failure to file such
                  certification, and relief from the stay provided under subsection (a)(3) shall not
                  be required to enable the lessor to complete the process to recover full
                  possession of the property; and
                 (B) the clerk of the court shall immediately serve upon the lessor and the debtor
                  a certified copy of the docket indicating the absence of a filed certification and
                  the applicability of the exception to the stay under subsection (b)(22).
     (5)
                 (A) Where a judgment for possession of residential property in which the
                  debtor resides as a tenant under a lease or rental agreement has been obtained
                  by the lessor, the debtor shall so indicate on the bankruptcy petition and shall
                  provide the name and address of the lessor that obtained that pre-petition
                  judgment on the petition and on any certification filed under this subsection.




                                              11
22-10964-mg      Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32               Main Document
                                        Pg 30 of 48



                 (B) The form of certification filed with the petition, as specified in this
                  subsection, shall provide for the debtor to certify, and the debtor shall certify-
                  -
                         (i) whether a judgment for possession of residential rental housing in
                       which the debtor resides has been obtained against the debtor before
                       the date of the filing of the petition; and
                        (ii) whether the debtor is claiming under paragraph (1) that under
                       nonbankruptcy law applicable in the jurisdiction, there are
                       circumstances under which the debtor would be permitted to cure the
                       entire monetary default that gave rise to the judgment for possession,
                       after that judgment of possession was entered, and has made the
                       appropriate deposit with the court.
                 (C) The standard forms (electronic and otherwise) used in a bankruptcy
                  proceeding shall be amended to reflect the requirements of this subsection.
                 (D) The clerk of the court shall arrange for the prompt transmittal of the rent
                  deposited in accordance with paragraph (1)(B) to the lessor.
(m)
      (1) Except as otherwise provided in this subsection, subsection (b)(23) shall apply on
          the date that is 15 days after the date on which the lessor files and serves a
          certification described in subsection (b)(23).
      (2)
                  (A) If the debtor files with the court an objection to the truth or legal sufficiency
                   of the certification described in subsection (b)(23) and serves such objection
                   upon the lessor, subsection (b)(23) shall not apply, unless ordered to apply by
                   the court under this subsection.
                  (B) If the debtor files and serves the objection under subparagraph (A), the
                   court shall hold a hearing within 10 days after the filing and service of such
                   objection to determine if the situation giving rise to the lessor’s certification
                   under paragraph (1) existed or has been remedied.
                  (C) If the debtor can demonstrate to the satisfaction of the court that the
                   situation giving rise to the lessor’s certification under paragraph (1) did not
                   exist or has been remedied, the stay provided under subsection (a)(3) shall
                   remain in effect until the termination of the stay under this section.
                  (D) If the debtor cannot demonstrate to the satisfaction of the court that the
                   situation giving rise to the lessor’s certification under paragraph (1) did not
                   exist or has been remedied--
                            (i) relief from the stay provided under subsection (a)(3) shall not be
                          required to enable the lessor to proceed with the eviction; and
                           (ii) the clerk of the court shall immediately serve upon the lessor and
                          the debtor a certified copy of the court’s order upholding the lessor’s
                          certification.
      (3) If the debtor fails to file, within 15 days, an objection under paragraph (2)(A)--
                  (A) subsection (b)(23) shall apply immediately upon such failure and relief
                   from the stay provided under subsection (a)(3) shall not be required to enable
                   the lessor to complete the process to recover full possession of the property;
                   and


                                                12
 22-10964-mg        Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32                Main Document
                                           Pg 31 of 48



                     (B) the clerk of the court shall immediately serve upon the lessor and the debtor
                     a certified copy of the docket indicating such failure.
(n)
          (1) Except as provided in paragraph (2), subsection (a) does not apply in a case in
              which the debtor--
                      (A) is a debtor in a small business case pending at the time the petition is filed;
                      (B) was a debtor in a small business case that was dismissed for any reason by
                       an order that became final in the 2-year period ending on the date of the order
                       for relief entered with respect to the petition;
                      (C) was a debtor in a small business case in which a plan was confirmed in the
                       2-year period ending on the date of the order for relief entered with respect to
                       the petition; or
                      (D) is an entity that has acquired substantially all of the assets or business of a
                       small business debtor described in subparagraph (A), (B), or (C), unless such
                       entity establishes by a preponderance of the evidence that such entity acquired
                       substantially all of the assets or business of such small business debtor in good
                       faith and not for the purpose of evading this paragraph.
          (2) Paragraph (1) does not apply--
                      (A) to an involuntary case involving no collusion by the debtor with creditors;
                       or
                      (B) to the filing of a petition if--
                                (i) the debtor proves by a preponderance of the evidence that the
                              filing of the petition resulted from circumstances beyond the control
                              of the debtor not foreseeable at the time the case then pending was
                              filed; and
                               (ii) it is more likely than not that the court will confirm a feasible plan,
                              but not a liquidating plan, within a reasonable period of time.
(o) The exercise of rights not subject to the stay arising under subsection (a) pursuant to paragraph
(6), (7), (17), or (27) of subsection (b) shall not be stayed by any order of a court or administrative
agency in any proceeding under this title.




                                                    13
22-10964-mg   Doc 6   Filed 07/14/22 Entered 07/14/22 00:05:32   Main Document
                                   Pg 32 of 48



                                   Exhibit B

                          Bankruptcy Code Section 365
22-10964-mg        Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                          Pg 33 of 48



§ 365. Executory contracts and unexpired leases

   (a) Except as provided in sections 765 and 766 of this title and in subsections (b), (c), and (d)
       of this section, the trustee, subject to the court’s approval, may assume or reject any
       executory contract or unexpired lease of the debtor.
   (b)
        (1) If there has been a default in an executory contract or unexpired lease of the debtor,
            the trustee may not assume such contract or lease unless, at the time of assumption
            of such contract or lease, the trustee--
                    (A) cures, or provides adequate assurance that the trustee will promptly cure,
                     such default other than a default that is a breach of a provision relating to the
                     satisfaction of any provision (other than a penalty rate or penalty provision)
                     relating to a default arising from any failure to perform nonmonetary
                     obligations under an unexpired lease of real property, if it is impossible for the
                     trustee to cure such default by performing nonmonetary acts at and after the
                     time of assumption, except that if such default arises from a failure to operate
                     in accordance with a nonresidential real property lease, then such default shall
                     be cured by performance at and after the time of assumption in accordance with
                     such lease, and pecuniary losses resulting from such default shall be
                     compensated in accordance with the provisions of this paragraph;
                    (B) compensates, or provides adequate assurance that the trustee will promptly
                     compensate, a party other than the debtor to such contract or lease, for any
                     actual pecuniary loss to such party resulting from such default; and
                    (C) provides adequate assurance of future performance under such contract or
                     lease.
        (2) Paragraph (1) of this subsection does not apply to a default that is a breach of a
            provision relating to--
                    (A) the insolvency or financial condition of the debtor at any time before the
                     closing of the case;
                    (B) the commencement of a case under this title;
                    (C) the appointment of or taking possession by a trustee in a case under this
                     title or a custodian before such commencement; or
                    (D) the satisfaction of any penalty rate or penalty provision relating to a default
                     arising from any failure by the debtor to perform nonmonetary obligations
                     under the executory contract or unexpired lease.
        (3) For the purposes of paragraph (1) of this subsection and paragraph (2)(B) of
            subsection (f), adequate assurance of future performance of a lease of real property
            in a shopping center includes adequate assurance--
                    (A) of the source of rent and other consideration due under such lease, and in
                     the case of an assignment, that the financial condition and operating
                     performance of the proposed assignee and its guarantors, if any, shall be similar
                     to the financial condition and operating performance of the debtor and its
                     guarantors, if any, as of the time the debtor became the lessee under the lease;
                    (B) that any percentage rent due under such lease will not decline substantially;
                    (C) that assumption or assignment of such lease is subject to all the provisions
                     thereof, including (but not limited to) provisions such as a radius, location, use,
                     or exclusivity provision, and will not breach any such provision contained in
22-10964-mg     Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                       Pg 34 of 48



                   any other lease, financing agreement, or master agreement relating to such
                   shopping center; and
                  (D) that assumption or assignment of such lease will not disrupt any tenant mix
                   or balance in such shopping center.
      (4) Notwithstanding any other provision of this section, if there has been a default in
          an unexpired lease of the debtor, other than a default of a kind specified in
          paragraph (2) of this subsection, the trustee may not require a lessor to provide
          services or supplies incidental to such lease before assumption of such lease unless
          the lessor is compensated under the terms of such lease for any services and
          supplies provided under such lease before assumption of such lease.
 (c) The trustee may not assume or assign any executory contract or unexpired lease of the
     debtor, whether or not such contract or lease prohibits or restricts assignment of rights or
     delegation of duties, if--
      (1)
                  (A) applicable law excuses a party, other than the debtor, to such contract or
                   lease from accepting performance from or rendering performance to an entity
                   other than the debtor or the debtor in possession, whether or not such contract
                   or lease prohibits or restricts assignment of rights or delegation of duties; and
                  (B) such party does not consent to such assumption or assignment; or
      (2) such contract is a contract to make a loan, or extend other debt financing or
          financial accommodations, to or for the benefit of the debtor, or to issue a security
          of the debtor; or
      (3) such lease is of nonresidential real property and has been terminated under
          applicable nonbankruptcy law prior to the order for relief.
 (d)
      (1) In a case under chapter 7 of this title, if the trustee does not assume or reject an
          executory contract or unexpired lease of residential real property or of personal
          property of the debtor within 60 days after the order for relief, or within such
          additional time as the court, for cause, within such 60-day period, fixes, then such
          contract or lease is deemed rejected.
      (2) In a case under chapter 9, 11, 12, or 13 of this title, the trustee may assume or reject
          an executory contract or unexpired lease of residential real property or of personal
          property of the debtor at any time before the confirmation of a plan but the court,
          on the request of any party to such contract or lease, may order the trustee to
          determine within a specified period of time whether to assume or reject such
          contract or lease.
      (3)
                  (A) The trustee shall timely perform all the obligations of the debtor, except
                   those specified in section 365(b)(2), arising from and after the order for relief
                   under any unexpired lease of nonresidential real property, until such lease is
                   assumed or rejected, notwithstanding section 503(b)(1) of this title. The court
                   may extend, for cause, the time for performance of any such obligation that
                   arises within 60 days after the date of the order for relief, but the time for
                   performance shall not be extended beyond such 60-day period, except as
                   provided in subparagraph (B). This subsection shall not be deemed to affect
                   the trustee’s obligations under the provisions of subsection (b) or (f) of this


                                               2
22-10964-mg     Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32               Main Document
                                       Pg 35 of 48



                section. Acceptance of any such performance does not constitute waiver or
                relinquishment of the lessor’s rights under such lease or under this title.
                (B) In a case under subchapter V of chapter 11, the time for performance of an
                obligation described in subparagraph (A) arising under any unexpired lease of
                nonresidential real property may be extended by the court if the debtor is
                experiencing or has experienced a material financial hardship due, directly or
                indirectly, to the coronavirus disease 2019 (COVID-19) pandemic until the
                earlier of--
                         (i) the date that is 60 days after the date of the order for relief, which
                       may be extended by the court for an additional period of 60 days if the
                       court determines that the debtor is continuing to experience a material
                       financial hardship due, directly or indirectly, to the coronavirus
                       disease 2019 (COVID-19) pandemic; or
                        (ii) the date on which the lease is assumed or rejected under this
                       section.
            (C) An obligation described in subparagraph (A) for which an extension is
            granted under subparagraph (B) shall be treated as an administrative
            expense described in section 507(a)(2) for the purpose of section 1191(e).

     (4)
                 (A) Subject to subparagraph (B), an unexpired lease of nonresidential real
                  property under which the debtor is the lessee shall be deemed rejected, and the
                  trustee shall immediately surrender that nonresidential real property to the
                  lessor, if the trustee does not assume or reject the unexpired lease by the earlier
                  of--
                           (i) the date that is 210 days after the date of the order for relief; or
                         (ii) the date of the entry of an order confirming a plan.
                 (B)
                           (i) The court may extend the period determined under subparagraph
                        (A), prior to the expiration of the 210-day period, for 90 days on the
                        motion of the trustee or lessor for cause.
                         (ii) If the court grants an extension under clause (i), the court may
                        grant a subsequent extension only upon prior written consent of the
                        lessor in each instance.
     (5) The trustee shall timely perform all of the obligations of the debtor, except those
         specified in section 365(b)(2), first arising from or after 60 days after the order for
         relief in a case under chapter 11 of this title under an unexpired lease of personal
         property (other than personal property leased to an individual primarily for
         personal, family, or household purposes), until such lease is assumed or rejected
         notwithstanding section 503(b)(1) of this title, unless the court, after notice and a
         hearing and based on the equities of the case, orders otherwise with respect to the
         obligations or timely performance thereof. This subsection shall not be deemed to
         affect the trustee’s obligations under the provisions of subsection (b) or (f).
         Acceptance of any such performance does not constitute waiver or relinquishment
         of the lessor’s rights under such lease or under this title.



                                               3
22-10964-mg      Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                        Pg 36 of 48



 (e)
       (1) Notwithstanding a provision in an executory contract or unexpired lease, or in
           applicable law, an executory contract or unexpired lease of the debtor may not be
           terminated or modified, and any right or obligation under such contract or lease
           may not be terminated or modified, at any time after the commencement of the
           case solely because of a provision in such contract or lease that is conditioned on-
           -
                   (A) the insolvency or financial condition of the debtor at any time before the
                    closing of the case;
                   (B) the commencement of a case under this title; or
                   (C) the appointment of or taking possession by a trustee in a case under this
                    title or a custodian before such commencement.
       (2) Paragraph (1) of this subsection does not apply to an executory contract or
           unexpired lease of the debtor, whether or not such contract or lease prohibits or
           restricts assignment of rights or delegation of duties, if--
                   (A)
                             (i) applicable law excuses a party, other than the debtor, to such
                           contract or lease from accepting performance from or rendering
                           performance to the trustee or to an assignee of such contract or lease,
                           whether or not such contract or lease prohibits or restricts assignment
                           of rights or delegation of duties; and
                            (ii) such party does not consent to such assumption or assignment; or
                   (B) such contract is a contract to make a loan, or extend other debt financing
                    or financial accommodations, to or for the benefit of the debtor, or to issue a
                    security of the debtor.
 (f)
       (1) Except as provided in subsections (b) and (c) of this section, notwithstanding a
           provision in an executory contract or unexpired lease of the debtor, or in applicable
           law, that prohibits, restricts, or conditions the assignment of such contract or lease,
           the trustee may assign such contract or lease under paragraph (2) of this subsection.
       (2) The trustee may assign an executory contract or unexpired lease of the debtor only
           if--
                   (A) the trustee assumes such contract or lease in accordance with the provisions
                    of this section; and
                   (B) adequate assurance of future performance by the assignee of such contract
                    or lease is provided, whether or not there has been a default in such contract or
                    lease.
       (3) Notwithstanding a provision in an executory contract or unexpired lease of the
           debtor, or in applicable law that terminates or modifies, or permits a party other
           than the debtor to terminate or modify, such contract or lease or a right or
           obligation under such contract or lease on account of an assignment of such
           contract or lease, such contract, lease, right, or obligation may not be terminated
           or modified under such provision because of the assumption or assignment of such
           contract or lease by the trustee.




                                                4
22-10964-mg      Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                        Pg 37 of 48



 (g) Except as provided in subsections (h)(2) and (i)(2) of this section, the rejection of an
     executory contract or unexpired lease of the debtor constitutes a breach of such contract or
     lease-
      (1) if such contract or lease has not been assumed under this section or under a plan
          confirmed under chapter 9, 11, 12, or 13 of this title, immediately before the date
          of the filing of the petition; or
      (2) if such contract or lease has been assumed under this section or under a plan
          confirmed under chapter 9, 11, 12, or 13 of this title--
                  (A) if before such rejection the case has not been converted under section 1112,
                   1208, or 1307 of this title, at the time of such rejection; or
                  (B) if before such rejection the case has been converted under section 1112,
                   1208, or 1307 of this title--
                            (i) immediately before the date of such conversion, if such contract
                          or lease was assumed before such conversion; or
                           (ii) at the time of such rejection, if such contract or lease was assumed
                          after such conversion.
 (h)
      (1)
                  (A) If the trustee rejects an unexpired lease of real property under which the
                   debtor is the lessor and--
                            (i) if the rejection by the trustee amounts to such a breach as would
                          entitle the lessee to treat such lease as terminated by virtue of its terms,
                          applicable nonbankruptcy law, or any agreement made by the lessee,
                          then the lessee under such lease may treat such lease as terminated by
                          the rejection; or
                           (ii) if the term of such lease has commenced, the lessee may retain its
                          rights under such lease (including rights such as those relating to the
                          amount and timing of payment of rent and other amounts payable by
                          the lessee and any right of use, possession, quiet enjoyment, subletting,
                          assignment, or hypothecation) that are in or appurtenant to the real
                          property for the balance of the term of such lease and for any renewal
                          or extension of such rights to the extent that such rights are enforceable
                          under applicable nonbankruptcy law.
                  (B) If the lessee retains its rights under subparagraph (A)(ii), the lessee may
                   offset against the rent reserved under such lease for the balance of the term
                   after the date of the rejection of such lease and for the term of any renewal or
                   extension of such lease, the value of any damage caused by the
                   nonperformance after the date of such rejection, of any obligation of the debtor
                   under such lease, but the lessee shall not have any other right against the estate
                   or the debtor on account of any damage occurring after such date caused by
                   such nonperformance.
                  (C) The rejection of a lease of real property in a shopping center with respect
                   to which the lessee elects to retain its rights under subparagraph (A)(ii) does
                   not affect the enforceability under applicable nonbankruptcy law of any
                   provision in the lease pertaining to radius, location, use, exclusivity, or tenant
                   mix or balance.


                                                5
22-10964-mg     Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                       Pg 38 of 48



                 (D) In this paragraph, “lessee” includes any successor, assign, or mortgagee
                  permitted under the terms of such lease.
       (2)
                 (A) If the trustee rejects a timeshare interest under a timeshare plan under
                  which the debtor is the timeshare interest seller and--
                           (i) if the rejection amounts to such a breach as would entitle the
                         timeshare interest purchaser to treat the timeshare plan as terminated
                         under its terms, applicable nonbankruptcy law, or any agreement made
                         by timeshare interest purchaser, the timeshare interest purchaser under
                         the timeshare plan may treat the timeshare plan as terminated by such
                         rejection; or
                          (ii) if the term of such timeshare interest has commenced, then the
                         timeshare interest purchaser may retain its rights in such timeshare
                         interest for the balance of such term and for any term of renewal or
                         extension of such timeshare interest to the extent that such rights are
                         enforceable under applicable nonbankruptcy law.
                 (B) If the timeshare interest purchaser retains its rights under subparagraph (A),
                  such timeshare interest purchaser may offset against the moneys due for such
                  timeshare interest for the balance of the term after the date of the rejection of
                  such timeshare interest, and the term of any renewal or extension of such
                  timeshare interest, the value of any damage caused by the nonperformance
                  after the date of such rejection, of any obligation of the debtor under such
                  timeshare plan, but the timeshare interest purchaser shall not have any right
                  against the estate or the debtor on account of any damage occurring after such
                  date caused by such nonperformance.
 (i)
      (1) If the trustee rejects an executory contract of the debtor for the sale of real property
          or for the sale of a timeshare interest under a timeshare plan, under which the
          purchaser is in possession, such purchaser may treat such contract as terminated,
          or, in the alternative, may remain in possession of such real property or timeshare
          interest.
      (2) If such purchaser remains in possession--
                   (A) such purchaser shall continue to make all payments due under such
                    contract, but may,1 offset against such payments any damages occurring after
                    the date of the rejection of such contract caused by the nonperformance of any
                    obligation of the debtor after such date, but such purchaser does not have any
                    rights against the estate on account of any damages arising after such date from
                    such rejection, other than such offset; and
                   (B) the trustee shall deliver title to such purchaser in accordance with the
                    provisions of such contract, but is relieved of all other obligations to perform
                    under such contract.
 (j) A purchaser that treats an executory contract as terminated under subsection (i) of this
     section, or a party whose executory contract to purchase real property from the debtor is
     rejected and under which such party is not in possession, has a lien on the interest of the
     debtor in such property for the recovery of any portion of the purchase price that such
     purchaser or party has paid.


                                               6
22-10964-mg      Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32               Main Document
                                        Pg 39 of 48



 (k) Assignment by the trustee to an entity of a contract or lease assumed under this section
      relieves the trustee and the estate from any liability for any breach of such contract or lease
      occurring after such assignment.
 (l) If an unexpired lease under which the debtor is the lessee is assigned pursuant to this section,
      the lessor of the property may require a deposit or other security for the performance of the
      debtor’s obligations under the lease substantially the same as would have been required by
      the landlord upon the initial leasing to a similar tenant.
 (m) For purposes of this section 365 and sections 541(b)(2) and 362(b)(10), leases of real
      property shall include any rental agreement to use real property.
 (n)
       (1) If the trustee rejects an executory contract under which the debtor is a licensor of
           a right to intellectual property, the licensee under such contract may elect--
                    (A) to treat such contract as terminated by such rejection if such rejection by
                     the trustee amounts to such a breach as would entitle the licensee to treat such
                     contract as terminated by virtue of its own terms, applicable nonbankruptcy
                     law, or an agreement made by the licensee with another entity; or
                    (B) to retain its rights (including a right to enforce any exclusivity provision of
                     such contract, but excluding any other right under applicable nonbankruptcy
                     law to specific performance of such contract) under such contract and under
                     any agreement supplementary to such contract, to such intellectual property
                     (including any embodiment of such intellectual property to the extent protected
                     by applicable nonbankruptcy law), as such rights existed immediately before
                     the case commenced, for--
                              (i) the duration of such contract; and
                             (ii) any period for which such contract may be extended by the
                            licensee as of right under applicable nonbankruptcy law.
       (2) If the licensee elects to retain its rights, as described in paragraph (1)(B) of this
           subsection, under such contract--
                    (A) the trustee shall allow the licensee to exercise such rights;
                    (B) the licensee shall make all royalty payments due under such contract for
                     the duration of such contract and for any period described in paragraph (1)(B)
                     of this subsection for which the licensee extends such contract; and
                    (C) the licensee shall be deemed to waive--
                              (i) any right of setoff it may have with respect to such contract under
                            this title or applicable nonbankruptcy law; and
                             (ii) any claim allowable under section 503(b) of this title arising from
                            the performance of such contract.
       (3) If the licensee elects to retain its rights, as described in paragraph (1)(B) of this
           subsection, then on the written request of the licensee the trustee shall--
                    (A) to the extent provided in such contract, or any agreement supplementary to
                     such contract, provide to the licensee any intellectual property (including such
                     embodiment) held by the trustee; and
                    (B) not interfere with the rights of the licensee as provided in such contract, or
                     any agreement supplementary to such contract, to such intellectual property
                     (including such embodiment) including any right to obtain such intellectual
                     property (or such embodiment) from another entity.


                                                 7
 22-10964-mg        Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                           Pg 40 of 48



         (4) Unless and until the trustee rejects such contract, on the written request of the
             licensee the trustee shall--
                      (A) to the extent provided in such contract or any agreement supplementary to
                       such contract--
                               (i) perform such contract; or
                              (ii) provide to the licensee such intellectual property (including any
                             embodiment of such intellectual property to the extent protected by
                             applicable nonbankruptcy law) held by the trustee; and
                      (B) not interfere with the rights of the licensee as provided in such contract, or
                       any agreement supplementary to such contract, to such intellectual property
                       (including such embodiment), including any right to obtain such intellectual
                       property (or such embodiment) from another entity.
    (o) In a case under chapter 11 of this title, the trustee shall be deemed to have assumed
        (consistent with the debtor’s other obligations under section 507), and shall immediately
        cure any deficit under, any commitment by the debtor to a Federal depository institutions
        regulatory agency (or predecessor to such agency) to maintain the capital of an insured
        depository institution, and any claim for a subsequent breach of the obligations thereunder
        shall be entitled to priority under section 507. This subsection shall not extend any
        commitment that would otherwise be terminated by any act of such an agency.
    (p)
         (1) If a lease of personal property is rejected or not timely assumed by the trustee under
             subsection (d), the leased property is no longer property of the estate and the stay
             under section 362(a) is automatically terminated.
         (2)
                      (A) If the debtor in a case under chapter 7 is an individual, the debtor may
                       notify the creditor in writing that the debtor desires to assume the lease. Upon
                       being so notified, the creditor may, at its option, notify the debtor that it is
                       willing to have the lease assumed by the debtor and may condition such
                       assumption on cure of any outstanding default on terms set by the contract.
                      (B) If, not later than 30 days after notice is provided under subparagraph (A),
                       the debtor notifies the lessor in writing that the lease is assumed, the liability
                       under the lease will be assumed by the debtor and not by the estate.
                      (C) The stay under section 362 and the injunction under section 524(a)(2) shall
                       not be violated by notification of the debtor and negotiation of cure under this
                       subsection.
In a case under chapter 11 in which the debtor is an individual and in a case under chapter 13, if
the debtor is the lessee with respect to personal property and the lease is not assumed in the plan
confirmed by the court, the lease is deemed rejected as of the conclusion of the hearing on
confirmation. If the lease is rejected, the stay under section 362 and any stay under section 1301
is automatically terminated with respect to the property subject to the lease.




                                                   8
22-10964-mg   Doc 6   Filed 07/14/22 Entered 07/14/22 00:05:32   Main Document
                                   Pg 41 of 48



                                   Exhibit C

                          Bankruptcy Code Section 525
 22-10964-mg       Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                          Pg 42 of 48



§ 525. Protection Against Discriminatory Treatment

    (a) Except as provided in the Perishable Agricultural Commodities Act, 1930, the Packers and
        Stockyards Act, 1921, and section 1 of the Act entitled “An Act making appropriations for
        the Department of Agriculture for the fiscal year ending June 30, 1944, and for other
        purposes,” approved July 12, 1943, a governmental unit may not deny, revoke, suspend, or
        refuse to renew a license, permit, charter, franchise, or other similar grant to, condition
        such a grant to, discriminate with respect to such a grant against, deny employment to,
        terminate the employment of, or discriminate with respect to employment against, a person
        that is or has been a debtor under this title or a bankrupt or a debtor under the Bankruptcy
        Act, or another person with whom such bankrupt or debtor has been associated, solely
        because such bankrupt or debtor is or has been a debtor under this title or a bankrupt or
        debtor under the Bankruptcy Act, has been insolvent before the commencement of the case
        under this title, or during the case but before the debtor is granted or denied a discharge, or
        has not paid a debt that is dischargeable in the case under this title or that was discharged
        under the Bankruptcy Act.
    (b) No private employer may terminate the employment of, or discriminate with respect to
        employment against, an individual who is or has been a debtor under this title, a debtor or
        bankrupt under the Bankruptcy Act, or an individual associated with such debtor or
        bankrupt, solely because such debtor or bankrupt--
         (1) is or has been a debtor under this title or a debtor or bankrupt under the Bankruptcy
             Act;
         (2) has been insolvent before the commencement of a case under this title or during
             the case but before the grant or denial of a discharge; or
         (3) has not paid a debt that is dischargeable in a case under this title or that was
             discharged under the Bankruptcy Act.
    (c)
         (1) A governmental unit that operates a student grant or loan program and a person
             engaged in a business that includes the making of loans guaranteed or insured
             under a student loan program may not deny a student grant, loan, loan guarantee,
             or loan insurance to a person that is or has been a debtor under this title or a
             bankrupt or debtor under the Bankruptcy Act, or another person with whom the
             debtor or bankrupt has been associated, because the debtor or bankrupt is or has
             been a debtor under this title or a bankrupt or debtor under the Bankruptcy Act,
             has been insolvent before the commencement of a case under this title or during
             the pendency of the case but before the debtor is granted or denied a discharge, or
             has not paid a debt that is dischargeable in the case under this title or that was
             discharged under the Bankruptcy Act.
In this section, “student loan program” means any program operated under title IV of the Higher
Education Act of 1965 or a similar program operated under State or local law.
22-10964-mg   Doc 6   Filed 07/14/22 Entered 07/14/22 00:05:32   Main Document
                                   Pg 43 of 48



                                   Exhibit 1

                                Form of Notice
    22-10964-mg         Doc 6      Filed 07/14/22 Entered 07/14/22 00:05:32                      Main Document
                                                Pg 44 of 48



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                           )
    In re:                                                                 )     Chapter 11
                                                                           )
    CELSIUS NETWORK LLC, et al.,1                                          )     Case No. 22-10964 (___)
                                                                           )
                                                Debtors.                   )     (Joint Administration Requested)
                                                                           )

                     NOTICE OF ENTRY OF AN ORDER
            (I) RESTATING AND ENFORCING THE WORLDWIDE
         AUTOMATIC STAY, ANTI-DISCRIMINATION PROVISIONS,
AND IPSO FACTO PROTECTIONS OF THE BANKRUPTCY CODE, (II) APPROVING
THE FORM AND MANNER OF NOTICE, AND (III) GRANTING RELATED RELIEF

             PLEASE TAKE NOTICE that on July 13, 2022 (the “Petition Date”), the

above-captioned debtors and debtors in possession (the “Debtors”) filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court for the Southern District of New York (the “Court”). The Debtors’

chapter 11 cases are pending before the Honorable Judge [●], United States Bankruptcy Judge,

and are being jointly administered under the lead case In re Celsius Network LLC, et. al., Case

No. 22-10964 ([●]).

             PLEASE TAKE FURTHER NOTICE that pursuant to section 362(a) of the

Bankruptcy Code, the Debtors’ filing of their respective voluntary petitions operates as a

self-effectuating, statutory stay or injunction, applicable to all entities, and protecting the Debtors

from, among other things: (a) the commencement or continuation of a judicial, administrative, or



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
      LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s principal
      place of business and the Debtors’ service address in these chapter 11 cases is 121 River Street, PH05, Hoboken,
      New Jersey 07030.
    22-10964-mg        Doc 6       Filed 07/14/22 Entered 07/14/22 00:05:32                        Main Document
                                                Pg 45 of 48



other action or proceeding against the Debtors (i) that was or could have been commenced before

the commencement of the Debtors’ cases or (ii) to recover a claim against the Debtors that arose

before the commencement of the Debtors’ cases; (b) the enforcement, against the Debtors or

against any property of the Debtors’ bankruptcy estates, of a judgment obtained before the

commencement of the Debtors’ cases; or (c) any act to obtain possession of property of or from

the Debtors’ bankruptcy estates, or to exercise control over property of the Debtors’ bankruptcy

estates.2

         PLEASE TAKE FURTHER NOTICE that pursuant to the Order (I) Restating and

Enforcing the Worldwide Automatic Stay, Anti-Discrimination Provisions, and Ipso Facto

Protections of the Bankruptcy Code, (II) Approving the Form and Manner of Notice, and

(III) Granting Related Relief (the “Order”) [Docket No. [__]], entered on [____], 2022, and

attached hereto as Exhibit A, all persons wherever located (including individuals, partnerships,

corporations, and other entities and all those acting on their behalf), persons party to a contract or

agreement with the Debtors, governmental units, whether of the United States, any state or locality

therein or any territory or possession thereof, or any foreign country (including any division,

department, agency, instrumentality or service thereof, and all those acting on their behalf), are

hereby put on notice that they are subject to the Order and must comply with its terms and

provisions.

         PLEASE TAKE FURTHER NOTICE that any entity that seeks to assert claims or

interests against, seek or assert causes of action or other legal or equitable remedies against, or




2
     Nothing herein shall constitute a waiver of the right to assert any claims, counterclaims, defenses, rights of setoff,
     or recoupment or any other claims of the Debtors against any party to the above-captioned cases. The Debtors
     expressly reserve the right to contest any claims which may be asserted against the Debtors.


                                                            2
 22-10964-mg       Doc 6     Filed 07/14/22 Entered 07/14/22 00:05:32               Main Document
                                          Pg 46 of 48



otherwise exercise any rights in law or equity against the Debtors or their estates, must do so in

front of the Court pursuant to the Order, the Bankruptcy Code, and applicable law.

        PLEASE TAKE FURTHER NOTICE that pursuant to the Order, any governmental

agency, department, division or subdivision, or any similar governing authority is prohibited from,

among other things: (a) denying, revoking, suspending, or refusing to renew any license, permit,

charter, franchise, or other similar grant to the Debtors; (b) placing conditions upon such a grant

to the Debtors; or (c) discriminating against the Debtors with respect to such a grant, solely because

the Debtors are debtors under the Bankruptcy Code, may have been insolvent before the

commencement of these chapter 11 cases, or are insolvent during the pendency of these chapter 11

cases as set forth more particularly in the Order.

        PLEASE TAKE FURTHER NOTICE that pursuant to the Order, parties to contracts or

agreements with the Debtors are prohibited from terminating such contracts or agreements because

of a Debtor’s bankruptcy filing, except as permitted by the Court under applicable law.

        PLEASE TAKE FURTHER NOTICE that pursuant to sections 105(a) and 362(k) of the

Bankruptcy Code and rule 9020 of the Federal Rules of Bankruptcy Procedure, among other

applicable substantive law and rules of procedure, any person or governmental unit seeking to

assert its rights or obtain relief outside of the processes set forth in the Order, the Bankruptcy Code,

and applicable law may be subject to proceedings in front of the Court for failure to comply with

the Order and applicable law, including contempt proceedings resulting in fines, sanctions, and

punitive damages against the entity and its assets inside the United States.

        PLEASE TAKE FURTHER NOTICE that additional information regarding

the Debtors’ chapter 11 cases, including copies of pleadings filed therein, may be

obtained by: (a) reviewing the publicly available docket of the Debtors’ chapter 11 cases at



                                                     3
  22-10964-mg      Doc 6    Filed 07/14/22 Entered 07/14/22 00:05:32              Main Document
                                         Pg 47 of 48



 http://www.nysb.uscourts.gov (PACER login and password required); (b) accessing the Debtors’

 publicly available website providing information regarding these chapter 11 cases, located online

 at http://www.cases.stretto.com/Celsius; or (c) contacting the following proposed co-counsel for

 the Debtors.

New York, New York                               /s/ DRAFT
Dated: [_____], 2022                             KIRKLAND & ELLIS LLP
                                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                                 Joshua A. Sussberg, P.C.
                                                 601 Lexington Avenue
                                                 New York, New York 10022
                                                 Telephone:     (212) 446-4800
                                                 Facsimile:     (212) 446-4900
                                                 Email:         jsussberg@kirkland.com

                                                  - and -

                                                 Patrick J. Nash, Jr., P.C. (pro hac vice pending)
                                                 Ross M. Kwasteniet, P.C. (pro hac vice pending)
                                                 300 North LaSalle Street
                                                 Chicago, Illinois 60654
                                                 Telephone:       (312) 862-2000
                                                 Facsimile:       (312) 862-2200
                                                 Email:           patrick.nash@kirkland.com
                                                                  ross.kwasteniet@kirkland.com

                                                 Proposed Counsel to the Debtors and
                                                 Debtors in Possession




                                                4
22-10964-mg   Doc 6   Filed 07/14/22 Entered 07/14/22 00:05:32   Main Document
                                   Pg 48 of 48



                                  Exhibit A

                                    Order
